                               Case 2:17-cv-01118-DGC Document 27 Filed 11/02/17 Page 1 of 1
                                          IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF ARIZONA
                                                 CIVIL MINUTES - GENERAL

 Phoenix Division


CIV 17 / 01118 / DGC                                          DATE:   November 2, 2017
    Year Case No Initials

Title:Robert J. Baron     v. Mark A Kirkorsky PC
           Plaintiffs         Defendants
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HON: MICHELLE H. BURNS                     Judge # 70BT


          Elida Carranza                       Not Recorded
        Judicial Assistant                     Recorded

    APPEARANCES:

Floyd W Bybee appearing for Plaintiff
Mark Kirkorsky appearing for Defendant


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PROCEEDINGS:      Open Court    Chambers X     Other

The Court held a Telephonic Conference regarding the upcoming settlement conference scheduled for November 7,
2017. The purpose of the court-initiated Telephonic Conference was to discuss a Notice of Futility of Settlement
Conference filed by Plaintiff. Defendant filed a Response, and Plaintiff filed a Reply. After considering the
arguments of the parties, the Court will vacate the November 7, 2017, settlement conference. The parties are
instructed to contact Chambers to reschedule, if the information sought is obtained, and the parties believe there is a
reasonable likelihood of settlement.

IT IS ORDERED vacating the Settlement Conference.




Time: 10:00 AM - 10:20 AM (.20 hours)
